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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

 RUSTY STRICKLAND,                                    )
 ALAN AND AMY WEST FARMS,                             )
                                                      )
 ALAN WEST,                                           )
 AMY WEST,                                            )
                                                      )
 DOUBLE B FARMS, LLC, and                             )
 BRYAN BAKER,                                         )
                                                      )
        Plaintiffs,                                   )
                                                      )
 v.                                                   ) Case No. 2:24-cv-60-Z
                                                      )
 THE UNITED STATES DEPARTMENT OF                      )
 AGRICULTURE,                                         )
 THOMAS J. VILSACK, in his official capacity          )
 as Secretary of the United States Department of      )
 Agriculture,                                         )
                                                      )
 ZACH DUCHENEAUX, in his official
                                                      )
 capacity as Administrator of the Farm Service
                                                      )
 Agency, and
                                                      )
 THE UNITED STATES OF AMERICA,                        )
        Defendants.                                   )



                         DECLARATION OF RUSTY STRICKLAND


       I, Rusty Strickland, declare the following:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

a matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am a citizen of the United States, a resident of Texas, over 18 years of age, and

have personal knowledge of the facts set forth herein.

       3.      I am fully competent to make this declaration.
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         4.    I am a farmer and rancher in Wellington, Texas.

         5.    I am married to Alison Strickland.

         6.    Together, Alison and I own and operate a farm and ranch.

         7.    Together, we grow cotton, peanuts, and wheat. We also raise cattle.

         8.    In 2020, 2021, and 2022, our area experienced excessive heat and drought. These

conditions harmed crops and reduced available grazing.

         9.    I am a Non-Hispanic, Caucasian (white) male.

         10.   I am not a “beginning farmer” because I have operated a farm for more than ten

years.

         11.   I am not a “veteran farmer” because I am not a veteran.

         12.   I am not a “limited resource farmer” because my total household income for all

relevant calendar years placed me above the national poverty level for a family of four.

         13.   As a result of my statuses identified in the paragraphs above, I do not qualify as an

“underserved farmer or rancher” for purposes of the relief programs administered by the United

States Department of Agriculture (USDA) to help our farm cope with losses due to the pandemic,

the excessive heat, and the droughts we experienced in northwest Texas. 2020 and 2021 were bad

years, but 2022 and 2023 have been some of the worst I’ve ever personally experienced. The spring

of 2022 was terrible and dry, but we saw a brief glimmer of hope when we got two inches of rain

in May of 2022. We rushed out and worked 24 hours a day getting our cotton planted in the dryland

while we had the moisture. But the moisture didn’t last long. We lost the crop. We also planted an

irrigated crop, but we ended up with about 60% of what we would have gotten in a normal year.

2023 started off looking better with snow in January. It gave us all hope again. But we got no other

moisture until May. That killed our winter wheat crop. The summer was looking good until it dried


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up and we started getting 110-degree days that lasted until September. In 2023, I was forced to

terminate 90% of my dryland crops and my irrigated crop was the worst I’ve ever produced in 23

years. Although these disaster relief programs don’t cover my 2023 losses, as a result of my 2023

losses things are bad and getting worse. I have never needed a disaster relief payment more than

now.

         14.   I applied to USDA for relief under the Coronavirus Food Assistance Program 2.

Initially, my wife and I were paid the same amount. However, when USDA made an additional

payment, USDA paid me $0.00 and my wife $8,863.86, solely because she is a woman, and I am

a man.

         15.   For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

applied to USDA for relief under the Emergency Relief Program 2021, Phase 1, with a qualifying

program loss of $130,147.50. USDA issued me a payment of $102,165.81. For my wife’s half,

USDA calculated her loss as $149,669.72 and issued her a payment of $117,490.74. Although our

actual losses were identical since we share the farm equally, USDA paid my wife $15,324.93 more,

solely because she is a woman, and I am a man.

         16.   For losses our area suffered from droughts and excessive heat in 2020 and 2021, I

applied to the USDA for relief under the Emergency Relief Program 2021, Phase 2, with a

qualifying program loss of $134,646.50. USDA issued me a payment of $105,697.53. For my

wife’s half of the venture, USDA calculated her loss as $154,843.53 and issued her a payment of

$121,552.18. Although our actual losses were identical since we share the farm equally, USDA

paid my wife $15,854.65 more, solely because she is a woman, and I am a man.

         17.   For grazing losses our area suffered from droughts and excessive heat in 2020 and

2021, I applied to USDA for relief under the Emergency Livestock Relief Program 2021, Phase 1,


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identifying an eligible loss for my half of the farm of $4,056.00. USDA issued me a program

payment of $3,042.00. Meanwhile, my wife applied to USDA for her half, seeking relief for the

same loss amount but receiving a payment from USDA of $3,650.40. Although our losses were

identical since we share the farm equally, USDA paid my wife $608.40 more, solely because she

is a woman, and I am a man.

       18.    For grazing losses our area suffered from droughts and excessive heat in 2020 and

2021, I applied to USDA for relief under the Emergency Livestock Relief Program 2021, Phase 2,

with a qualifying program loss of $3,042.00. USDA issued me a payment of $608.40. For my

wife’s half of the venture, USDA calculated her loss as $3,650.40 and issued her a payment of

$730.08. Although our losses were identical since we share the farm equally, USDA paid my wife

$121.68 more, solely because she is a woman, and I am a man.

       19.    For losses our area suffered from droughts and excessive heat in 2022, I applied to

USDA for relief under the Emergency Livestock Relief Program 2022, identifying an eligible loss

for my half of the venture of $8,240.00. USDA issued me a program payment of $1,545.00.

Meanwhile, my wife applied to USDA for her half of the venture, seeking relief for the same loss

amount but receiving a payment from USDA of $1,854.00. Although our losses were identical

since we share the farm equally, USDA paid my wife $309.00 more, solely because she is a woman,

and I am a man.

       20.    For losses our area suffered from droughts in 2022, I applied to USDA under the

Emergency Relief Program 2022, Track 1, identifying an eligible loss of $46,969.50. USDA issued

me a program payment of $7,272.71. Meanwhile, my wife applied to USDA for her half of the

venture, seeking relief for the same loss amount but receiving a payment from USDA of

$71,900.96. Although our losses were identical since we own an equal share of our farming and


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ranching venture, USDA paid my wife $64,628.25 more, solely because she is a woman, and I am

a man.

         21.    In addition to the payment under the Emergency Relief Program 2022, Track 1,

being reduced because I am a white man, USDA made two substantial changes to the calculation

of payments that reduced my 2022 program payment relative to previous years. First, USDA did

not include any refunds of federal crop insurance premiums and fees for non-underserved farmers.

Second, USDA applied its newly adopted progressive factoring. These changes came as a surprise.

         22.    Had I not been Caucasian and male, I would not have been denied disaster relief

from USDA under the Coronavirus Food Assistance Program 2; the Emergency Relief Program

2021, Phases 1 and 2; the Emergency Livestock Relief Program 2021, Phases 1 and 2; the

Emergency Livestock Relief Program 2022; and the Emergency Relief Program 2022, Track 1.

         23.    USDA’s decision that I must be a veteran, a new farmer, or struggling to make ends

meet to be entitled to the same disaster relief as every other American farmer is stigmatizing and

discriminatory. I am aware that USDA is punishing me because of my race and sex.

         I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.




Dated: ___________                                           _____________________________
                                                             Rusty Strickland




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